                         UNITED STATES BANKRUPTCY COURT
                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE: ABBAS JOHN BASHITI and                          : CHAPTER 13
       GENEVIEVE ANN BASHITI                           :
          Debtor(s)                                    :
                                                       :
         CHARLES J. DEHART, III                        :
         STANDING CHAPTER 13 TRUSTEE                   :
            Movant                                     :
                                                       :
               vs.                                     :
                                                       :
         ABBAS JOHN BASHITI and                        :
         GENEVIEVE ANN BASHITI                         :
            Respondent(s)                              : CASE NO. 5-17-bk-02397


               TRUSTEE’S OBJECTION TO AMENDED CHAPTER 13 PLAN

               AND NOW, this 21st day of April, 2021, comes Charles J. DeHart, III, Standing
Chapter 13 Trustee, and objects to the confirmation of the above-referenced debtor(s)’ plan for the
following reason(s):

               1. Debtor(s)' plan violates 11 U.S.C. Sec. 1322(a)(1) in that the debtor(s) has not
submitted all or such portion of the disposable income to the Trustee as required. More
specifically,

                Trustee alleges and avers that debtor(s)’ disposable income is greater than that
which is committed to the plan based upon disposable income on Schedules I and J and
specifically disputes the following amounts:

                     a.   Retirement loan (verification)
                     b.   A $834.17 domestic support obligation ended.
                     c.   Support of adult children at the expense of unsecured creditors.
                     d.   RV payment, dues and membership, violin lessons and rental.

                2. Trustee avers that debtor(s)’ plan is not feasible and cannot be administered due
to the lack of the following:

                     a. 2020 Federal Income Tax return.
                     b. Last paystub dated April 30., 2021.

               WHEREFORE, Trustee alleges and avers that debtor(s) plan is nonconfirmable and
therefore Trustee prays that this Honorable Court will:




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                    a. Deny confirmation of debtor(s) plan.
                    b. Dismiss or convert debtor(s) case.
                    c. Provide such other relief as is equitable and just.

                                                  Respectfully submitted:

                                                  Charles J. DeHart, III
                                                  Standing Chapter 13 Trustee
                                                  8125 Adams Drive, Suite A
                                                  Hummelstown, PA 17036
                                                  (717) 566-6097

                                  BY:             /s/Agatha R. McHale
                                                  Attorney for Trustee




                                  CERTIFICATE OF SERVICE

               AND NOW, this 21st day of April, 2021, I hereby certify that I have served the
within Objection by electronically notifying parties or by depositing a true and correct copy of the
same in the United States Mail at Harrisburg, Pennsylvania, postage prepaid, first class mail,
addressed to the following:

Patrick Best, Esquire
18 N. 8th Street
Stroudsburg, PA 18360


                                                  /s/Deborah A. Behney
                                                  Office of Charles J. DeHart, III
                                                  Standing Chapter 13 Trustee




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